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                 )257+(1257+(51',675,&72):(679,5*,1,$
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GLVWUDXJKW DQG DWWHPSWLQJ WR FRPPLW ³VXLFLGH E\ FRS´ SOHDGLQJZLWK0U 0DGHU WR ³MXVWVKRRW

PH´0U0DGHUXVHGKLVWUDLQLQJDQGH[SHULHQFHWRDWWHPSWWRGHHVFDODWHWKHVLWXDWLRQ%DVHG

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WKDW0U:LOOLDPV²DOWKRXJKKROGLQJDJXQ²LQWHQGHGWRLQIOLFWVHOIKDUPDQGGLGQRWSRVHDWKUHDW

RIKDUPWRRWKHUV$VLWWXUQHGRXWWKHJXQKHOGE\0U:LOOLDPVZDVQRWORDGHG:KHQWZRPRUH

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0DGHU¶VLQIRUPHGMXGJPHQWDQGH[SHULHQFHDQGKLVUHDVRQDEOHDWWHPSWWRGHHVFDODWHWKHVLWXDWLRQ

WKH&LW\RI:HLUWRQLQDIODZHGHIIRUWWREXWWUHVVWKHRWKHURIILFHU¶VXVHRIGHDGO\IRUFHZURQJIXOO\
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WHUPLQDWHG0U0DGHU¶VHPSOR\PHQW:KHQWKDWWHUPLQDWLRQFDPHWROLJKWLQWKHORFDOSUHVVWKH

&LW\WKHQHQJDJHGLQDSDWWHUQRIUHWDOLDWLRQGHVLJQHGWRGHVWUR\0U0DGHU¶VUHSXWDWLRQ

        'HIHQGDQWV¶FRQGXFWYLRODWHG0U0DGHU¶VULJKWWREHIUHHIURPWKHORVVRIHPSOR\PHQWLQ

YLRODWLRQ RI SXEOLF SROLF\ KLV )LUVW DQG )RXUWHHQWK $PHQGPHQW ULJKWV XQGHU WKH 8QLWHG 6WDWHV

&RQVWLWXWLRQDQGKLVULJKWVXQGHU$UWLFOH,,,6HFWLRQDQG$UWLFOH,,,6HFWLRQRIWKH :HVW

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WRDQGRSHUDWHGDPXQLFLSDOSROLFHGHSDUWPHQW

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WKURXJK LWV GXO\ HOHFWHG DQGRU DSSRLQWHG RIILFLDOV DQGRU SROLF\PDNHUV ZKR SDUWLFLSDWHG LQ

DSSURYHGRIDQGRUDFTXLHVFHGLQWKHYLRODWLRQRIWKH3ODLQWLII
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DOOUHOHYDQWWLPHVWKHVHSROLF\PDNHUVZHUHDFWLQJXQGHUFRORURIODZDQGLQDFFRUGDQFHZLWKWKH

FXVWRPSUDFWLFHVDQGSROLFLHVRIWKH&LW\RI:HLUWRQ

             'HIHQGDQW7UDYLV%ORVVHULVDQDGXOWUHVLGHQWRI%URRNH&RXQW\:HVW9LUJLQLD$W

DOOUHOHYDQWWLPHV'HIHQGDQW%ORVVHUDFWHGXQGHUFRORURIVWDWHODZDQGZDVWKH&LW\0DQDJHUDQG

GD\WRGD\SROLF\PDNHUIRU'HIHQGDQW:HLUWRQ'HIHQGDQW%ORVVHUEDVHGRQKLVLQWHQWLRQDODFWV

DQGRUWKHFXVWRPVSROLFLHVDQGSUDFWLFHVWKDWKHLPSOHPHQWHGDQGRULQZKLFKKHDFTXLHVFHGLV

UHVSRQVLEOH IRU WKH YLRODWLRQ RI 3ODLQWLII¶V FRQVWLWXWLRQDO DQG FRPPRQODZ ULJKWV 'HIHQGDQW

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DOOUHOHYDQWWLPHV'HIHQGDQW$OH[DQGHUDFWHGXQGHUFRORURIVWDWHODZDQGZDVWKH&KLHIRIWKH

:HLUWRQ 3ROLFH 'HSDUWPHQW DQG GD\WRGD\ SROLF\PDNHU IRU 'HIHQGDQW :HLUWRQ  'HIHQGDQW

$OH[DQGHU EDVHG RQ KLV LQWHQWLRQDO DFWV DQGRU WKH FXVWRPV SROLFLHV DQG SUDFWLFHV ZKLFK KH

LPSOHPHQWHG DQGRU LQ ZKLFK KH DFTXLHVFHG LV UHVSRQVLEOH IRU WKH YLRODWLRQ RI 3ODLQWLII¶V

FRQVWLWXWLRQDODQGFRPPRQODZULJKWV$OH[DQGHULVQDPHGLQKLVLQGLYLGXDOFDSDFLW\

             'HIHQGDQW 5\DQ .X]PD LV DQ DGXOW LQGLYLGXDO UHVLGLQJ LQ %URRNH&RXQW\ :HVW

9LUJLQLD$WDOOUHOHYDQWWLPHV'HIHQGDQW.X]PDDFWHGXQGHUFRORURIVWDWHODZDVDSROLFHRIILFHU

HPSOR\HGE\'HIHQGDQW:HLUWRQ'HIHQGDQW.X]PDEDVHGXSRQKLVLQWHQWLRQDODFWVDQGRUWKH

FXVWRPVSROLFLHVDQGSUDFWLFHVRIWKH&LW\RI:HLUWRQLVUHVSRQVLEOHIRUWKHYLRODWLRQRI3ODLQWLII¶V

FRQVWLWXWLRQDODQGFRPPRQODZULJKWV'HIHQGDQW.X]PDLVQDPHGLQKLVLQGLYLGXDOFDSDFLW\

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$UP\1DWLRQDO*XDUGKROGLQJWKHUDQNRI6SHFLDOLVW

           7KURXJKRXWKLV0DULQH&RUSVWUDLQLQJ0U0DGHUZDVWUDLQHGWRDVVHVVWKHWKUHDW

OHYHOSRVHGE\LQGLYLGXDOVKHHQFRXQWHUHGLQFOXGLQJWDNLQJLQWRDFFRXQWDQLQGLYLGXDO¶VGHPHDQRU

SK\VLFDODSSHDUDQFHDQGDFWLRQV

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           2QRUDERXW'HFHPEHU0U0DGHUVXFFHVVIXOO\FRPSOHWHGWKH:HVW9LUJLQLD

6WDWH 3ROLFH $FDGHP\ %DVLF 7UDLQLQJ &RXUVH DQG ZDV FHUWLILHG DV D :HVW 9LUJLQLD 0XQLFLSDO

3ROLFH2IILFHU0U0DGHUILQLVKHGWKLQKLVFODVV

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WR XVH GHDGO\ IRUFH H[FHSW LQ FDVHV ZKHUH WKH RIILFHU FRQFOXGHG EDVHG RQ WKH IDFWV DQG

FLUFXPVWDQFHVNQRZQWRKLPWKDWWKHWDUJHWRIVXFKIRUFHSRVHGDQLPPHGLDWHWKUHDWRIGHDWKRU

VHULRXVERGLO\LQMXU\WRKLPVHOIRURWKHUV

           7KH:HLUWRQ3ROLFH'HSDUWPHQW¶V8VHRI)RUFH3ROLF\SURKLELWVD:HLUWRQSROLFH

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UHDVRQDEOHEHOLHIRIDQLPPHGLDWHWKUHDWRIGHDWKRIVHULRXVERGLO\LQMXU\´

           7KH)RXUWKDQG)RXUWHHQWK$PHQGPHQWVRIWKH8QLWHG6WDWHV&RQVWLWXWLRQSURKLELW

DSROLFHRIILFHUIURPXVLQJGHDGO\IRUFHXQOHVVWKDWRIILFHUEDVHGXSRQWKHIDFWVDQGFLUFXPVWDQFHV

NQRZQWRKLPKDVUHDVRQWREHOLHYHWKDWWKHWDUJHWRIVXFKIRUFHSRVHVDQLPPHGLDWHWKUHDWRIGHDWK

RUVHULRXVERGLO\LQMXU\WRVXFKRIILFHURURWKHUV

           $UWLFOH,,,6HFWLRQRIWKH:HVW9LUJLQLD&RQVWLWXWLRQSURKLELWVDSROLFHRIILFHU

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KDVUHDVRQWREHOLHYHWKDWWKHWDUJHWRIVXFKIRUFHSRVHVDQLPPHGLDWHWKUHDWRIGHDWKRUVHULRXV



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Case 5:17-cv-00061-FPS Document 25 Filed 10/30/17 Page 5 of 14 PageID #: 101

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ERGLO\LQMXU\WRVXFKRIILFHURURWKHUV

           $WDOOWLPHVUHOHYDQW0U0DGHUUHDVRQDEO\EHOLHYHGEDVHGXSRQWKH8QLWHG6WDWHV

DQG :HVW 9LUJLQLD FRQVWLWXWLRQV KLV 0DULQH WUDLQLQJ KLV PXQLFLSDO SROLFH WUDLQLQJ DQG LQ

DFFRUGDQFHZLWKWKH:HLUWRQ8VHRI)RUFH3ROLF\WKDWLWZDVXQFRQVWLWXWLRQDODQGLOOHJDOWRXVH

GHDGO\IRUFHXQOHVVKHEHOLHYHGWKDWDQLPPLQHQWWKUHDWRIGHDWKDQGRUVHULRXVERGLO\KDUPWR

KLPVHOIRURWKHUVH[LVWHG

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IURPKLVFDUDQGVWDWHGKLVLQWHQWWRJHWWKHSROLFHWRVKRRWKLP

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DQGEURXJKWKLVKDQGVWRKLVVLGHZKHUH0U0DGHUREVHUYHGWKDW0U:LOOLDPVZDVKROGLQJD

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UHVSRQGHG³,FDQ¶WGRWKDW-XVWVKRRWPH´

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            ,QOLJKWRIWKHIDFWVDQGFLUFXPVWDQFHVNQRZQWR0U0DGHUKHGLGQRWEHOLHYHWKDW

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            0U0DGHULQIRUPHG0U:LOOLDPVWKDWKHZDVQRWJRLQJWRVKRRWKLPDQGLQVWUXFWHG

0U:LOOLDPVWRSXWWKHJXQGRZQ0U:LOOLDPVUHVSRQGHGE\SOHDGLQJRYHUDQGRYHU³-XVWVKRRW

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%DNHUDQG.X]PDDUULYHG0U:LOOLDPVUDLVHGKLVJXQDQG'HIHQGDQW.X]PDLPPHGLDWHO\VKRW

0U:LOOLDPVLQWKHKHDGNLOOLQJKLP

            $VUHSRUWHGE\WKHZRPDQZKRKDGFDOOHG0U:LOOLDPV¶JXQZDVQRWORDGHG

            0U0DGHUFRPSOHWHGDKDQGZULWWHQVWDWHPHQWRQWKHQLJKWRIWKHVKRRWLQJLQZKLFK

KHUHSRUWHGWKDW0U:LOOLDPVKDGSOHDGHGZLWKKLPWR³-XVWVKRRWPH´

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            )ROORZLQJ WKH HYHQWV RI 0D\   DQG LQ DFFRUGDQFH ZLWK :HLUWRQ 3ROLFH

'HSDUWPHQW VWDQGDUG SURFHGXUH 0U 0DGHU ZDV SODFHG RQ DGPLQLVWUDWLYH OHDYH SHQGLQJ DQ

HYDOXDWLRQE\DVRFLDOZRUNHU

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SXUSRUWHGLQYHVWLJDWLRQLQWRKLVDFWLRQVRQ0D\

            2Q -XQH   WKH :HLUWRQ 3ROLFH 'HSDUWPHQW QRWLILHG 0U 0DGHU WKDW KLV

HPSOR\PHQWKDGEHHQWHUPLQDWHGGXHWRKLVDOOHJHG³IDLOXUHWRPHHWSUREDWLRQDU\VWDQGDUGVRIDQ

RIILFHU´DQG³DSSDUHQWGLIILFXOWLHVLQFULWLFDOLQFLGHQWUHDVRQLQJ´

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0DGHU¶V HPSOR\PHQW EHFDXVH KH FKRVH QRW WR XVH GHDGO\ IRUFH WR VKRRW DQG NLOO DQ $IULFDQ

$PHULFDQPDQZKRZDVVXLFLGDODQGZKRP0U0DGHUUHDVRQDEO\EHOLHYHGGLGQRWSRVHDULVN

RIGHDWKRUVHULRXVERGLO\LQMXU\WR0U0DGHURURWKHUV

            8SRQ LQIRUPDWLRQ DQG EHOLHI WKH :HLUWRQ 3ROLFH 'HSDUWPHQW WHUPLQDWHG 0U

0DGHU¶V HPSOR\PHQW EHFDXVH KLV GHFLVLRQ QRW WR XVH GHDGO\ IRUFH WR VKRRW DQG NLOO D VXLFLGDO

$IULFDQ$PHULFDQPDOHPDGHRUFRXOGKDYHEHHQFRQVWUXHGWRPDNH'HIHQGDQW.X]PD¶VXVHRI

GHDGO\IRUFHDSSHDUXQUHDVRQDEOHRUH[FHVVLYHXQGHUWKHFLUFXPVWDQFHV

            8SRQLQIRUPDWLRQDQGEHOLHI'HIHQGDQWVIDOVHO\DFFXVHG0U0DGHURIQHJOLJHQFH

SRRUMXGJPHQWGHILFLHQW³FULWLFDOLQFLGHQWUHDVRQLQJ´FRZDUGLFHDQGRURWKHUJURVVGHILFLHQFLHV

LQKLVFDSDELOLWLHVDVDSROLFHRIILFHU7KHVHIDOVHDOOHJDWLRQVZHUHGHVLJQHGWRLPSXJQ0U0DGHU¶V

MXGJPHQW LQ QRW XVLQJ GHDGO\ IRUFH DQG WR RWKHUZLVH EROVWHU WKH UHDVRQDEOHQHVV RI 'HIHQGDQW

.X]PD¶VXVHRIVXFKIRUFH

            $WQRWLPHDIWHU0D\GLGDQ\:HLUWRQ3ROLFH'HSDUWPHQWRIILFLDOFRQWDFW

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            2Q-XQH0U0DGHUZDVQRWLILHGWKDWDKHDULQJUHJDUGLQJKLVWHUPLQDWLRQ

KDGEHHQVFKHGXOHGIRU-XQHEHIRUHWKH&LW\RI:HLUWRQ3ROLFH2IILFHU¶V+HDULQJ%RDUG

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KLPDWWKHKHDULQJXQWLOWKHGD\EHIRUHLWZDVVFKHGXOHG+LVFRXQVHOUHTXHVWHGDFRQWLQXDQFH

ZKLFKZDVDSSURYHGE\WKH&LW\$WWRUQH\EXWWKHQUHIXVHGE\'HIHQGDQW$OH[DQGHU

            1RWHVWLPRQ\ZDVWDNHQDWWKHKHDULQJ

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Case 5:17-cv-00061-FPS Document 25 Filed 10/30/17 Page 8 of 14 PageID #: 104

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            2Q6HSWHPEHUDQDUWLFOHDSSHDUHGLQWKH3LWWVEXUJK3RVW*D]HWWHHQWLWOHG

³:HLUWRQ7HUPLQDWHV2IILFHU:KR'LG1RW)LUHDW0DQ:LWK*XQ´6HDQ'+DPPLOOWeirton

Terminates Officer Who Did Not Fire at Man with Gun3LWWVEXUJK3RVW*D]HWWH6HSW

available at KWWSZZZSRVWJD]HWWHFRPORFDOUHJLRQ:HLUWRQILUHGRIILFHUZKR

GLGQRWILUHDWPDQZLWKJXQVWRULHV

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DFNQRZOHGJHGWKURXJK'HIHQGDQWV$OH[DQGHU DQG %ORVVHU WKDW LW KDG WHUPLQDWHG 0U 0DGHU¶V

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DQG%ORVVHUIDOVHO\FODLPHGERWKWKDW0U0DGHU¶VHPSOR\PHQWZDVWHUPLQDWHGGXHWR³PXOWLSOH´

SULRU LQFLGHQWVDQGWKDW0U0DGHUZDV WHUPLQDWHG IRU ³FRQGXFWXQEHFRPLQJ´ LQ UHVSRQVH WR D

³VHULHVRILQFLGHQWV´

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0U0DGHURIIDLOLQJWRLQIRUP'HIHQGDW.X]PDRI0U:LOOLDPV¶VXLFLGDOQDWXUHGHVSLWHNQRZLQJ

DWWKHWLPHWKHVWDWHPHQWVZHUHPDGHWKDW0U0DGHUGLGQRWKDYHDQRSSRUWXQLW\WRGRVR

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WKDWVDPHLQIRUPDWLRQDVZHOODVWKHLQIRUPDWLRQWKDWWKHZHDSRQKHOGE\:LOOLDPVZDVXQORDGHG

DQG\HWIDLOHGWRUHSRUWWKDWWRWKHRIILFHUVRQWKHVFHQH

            'XULQJ WKH SUHVV FRQIHUHQFH 'HIHQGDQWV $OH[DQGHU DQG %ORVVHU IDOVHO\ FODLPHG

WKDW0U0DGHUXQQHFHVVDULO\HVFDODWHGWKHLQFLGHQWZLWK0U:LOOLDPV³IUR]H´GXULQJWKHLQFLGHQW

DQGSURYLGHGIDOVHLQIRUPDWLRQWRWKH3RVW*D]HWWHEHFDXVHKHZDVD³GLVJUXQWOHGHPSOR\HH´DQG

D³EDGFRS´

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Case 5:17-cv-00061-FPS Document 25 Filed 10/30/17 Page 9 of 14 PageID #: 105

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0DGHUDWH[WPHVVDJHLQZKLFKKHVWDWHGinter aliaWKDW0U0DGHUZDV³DFRZDUG>@´WKDW0U

0DGHU³GLGQ¶WKDYHWKHEDOOVWRVDYH>KLV@RZQOLIH>@´DQGWKDW0U0DGHUDQGKLVPRWKHUZHUH

³ORXGPRXWKSLHFHVRIVKLW´ZKRZRXOGJHWVRPHRQHLQODZHQIRUFHPHQWNLOOHG

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            2Q6HSWHPEHU'HIHQGDQW.X]PDDUULYHGLQIXOOXQLIRUPDWWKHVFKRRO

ZKLFK0U0DGHUZDVDWWHQGLQJWRREWDLQD&'/OLFHQVHDQGUHSHDWHGWKHVDPHSURIDQLW\ODFHG

DOOHJDWLRQVLQIURQWRI0U0DGHU¶VLQVWUXFWRUDQGFODVVPDWHV

            7KHLQVWUXFWRUUHSRUWHGWKLVLQFLGHQWWRWKHVFKRRO¶VRZQHUZKRWKHQUHSRUWHGLWWR

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DUHSRUW

            2Q LQIRUPDWLRQ DQG EHOLHI 'HIHQGDQW :HLUWRQ QHYHU FRQGXFWHG DQ LQYHVWLJDWLRQ

LQWR'HIHQGDQW.X]PD¶VDFWLRQVRUGLVFLSOLQHG'HIHQGDQW.X]PDIRUWKLVLQFLGHQW

            'HIHQGDQWV¶ FRQGXFW LQ WHUPLQDWLQJ 3ODLQWLII¶V HPSOR\PHQW GLVVHPLQDWLQJ IDOVH

LQIRUPDWLRQDERXWKLPDQGKDUDVVLQJKLPIROORZLQJKLVWHUPLQDWLRQDVKHUHLQGHVFULEHGZDVLQ

UHFNOHVVGLVUHJDUGRI3ODLQWLII¶VFOHDUO\HVWDEOLVKHGULJKWV

            $V D UHVXOW RI 'HIHQGDQWV¶ FRQGXFW DV GHVFULEHG KHUHLQ 3ODLQWLII KDV VXIIHUHG

FRQVWLWXWLRQDOYLRODWLRQVORVWZDJHVLQFRPHEHQHILWVDQGRWKHUUHPXQHUDWLRQDQGZLOOFRQWLQXH

WRVXIIHUVXFKORVVHVLQWRWKHIXWXUH

            $V D UHVXOW RI 'HIHQGDQWV¶ FRQGXFW DV GHVFULEHG KHUHLQ 3ODLQWLII KDV VXIIHUHG

HPEDUUDVVPHQWKXPLOLDWLRQHPRWLRQDOGLVWUHVVDQGGDPDJHWRKLVUHSXWDWLRQ

                      MADER V. WEIRTON, WEST VIRGINIA
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             'HIHQGDQW :HLUWRQ WHUPLQDWHG 3ODLQWLII¶V HPSOR\PHQW EHFDXVH RI 3ODLQWLII¶V

 IDLOXUHWRXVHGHDGO\IRUFHDJDLQVW:LOOLDPV

             %RWKWKH8QLWHG6WDWHV&RQVWLWXWLRQDQGWKH:HVW9LUJLQLD&RQVWLWXWLRQSURKLELWWKH

 XQUHDVRQDEOHXVHRIIRUFHE\SROLFHRIILFHUV

             7KHSURYLVLRQVRIWKH:HVW9LUJLQLD&RQVWLWXWLRQSURKLELWLQJXQUHDVRQDEOHXVHRI

 IRUFHKDYHEHHQLQWHUSUHWHGFRQVLVWHQWO\ZLWKWKH8QLWHG6WDWHV&RQVWLWXWLRQ

             7KH8QLWHG6WDWHV&RQVWLWXWLRQSURKLELWVWKHXVHRIGHDGO\IRUFHE\DSROLFHRIILFHU

 H[FHSWZKHUHWKHRIILFHUKDVSUREDEOHFDXVHWREHOLHYHWKDWWKHVXEMHFWSRVHVDQLPPHGLDWHULVNRI

 GHDWKRUVHULRXVERGLO\LQMXU\WRKLPVHOIRURWKHUV

             8VHRIGHDGO\IRUFHXQGHURWKHUFLUFXPVWDQFHVLVH[FHVVLYHDQGYLRODWHVERWKWKH

 :HVW9LUJLQLDDQGWKH8QLWHG6WDWHV&RQVWLWXWLRQ

             ,WLVWKHFOHDUSXEOLFSROLF\RIWKH8QLWHG6WDWHVDQGWKH6WDWHRI:HVW9LUJLQLDWKDW

 ODZHQIRUFHPHQWRIILFHUVQRWHQJDJHLQH[FHVVLYHIRUFH

             ,W LV WKH FOHDU SXEOLF SROLF\ RI WKH 8QLWHG 6WDWHV DQG :HVW 9LUJLQLD WKDW ODZ

 HQIRUFHPHQWRIILFHUVQRWYLRODWHWKHULJKWVJXDUDQWHHGWRFLWL]HQVE\WKHLUUHVSHFWLYHFRQVWLWXWLRQV

             ,W LV WKH FOHDU SXEOLF SROLF\ RI :HVW 9LUJLQLD DQG WKH 8QLWHG 6WDWHV WKDW SROLFH

 RIILFHUVQRWXVHGHDGO\IRUFHDJDLQVWLQGLYLGXDOVZKRPWKH\GRQRWEHOLHYHSRVHDQLPPHGLDWHULVN

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             7HUPLQDWLQJ D SROLFH RIILFHU¶V HPSOR\PHQW EHFDXVH WKH RIILFHU FKRVH QRW WR XVH

 GHDGO\ IRUFH ZKHQ WKH RIILFHU UHDVRQDEO\ EHOLHYHG VXFK IRUFH ZDV XQQHFHVVDU\ YLRODWHV SXEOLF

 SROLF\LWHQFRXUDJHVWKHXQQHFHVVDU\XVHRIGHDGO\IRUFHE\WKUHDWHQLQJWKRVHRIILFHUVZLWKWKH

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Case 5:17-cv-00061-FPS Document 25 Filed 10/30/17 Page 11 of 14 PageID #: 107

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 XVHRIGHDGO\IRUFHE\LPSRVLQJVDQFWLRQV²LQFOXGLQJWHUPLQDWLRQRIHPSOR\PHQW²RQDQRIILFHU

 ZKRGRHVQRWUHDVRQDEO\EHOLHYHVXFKIRUFHLVDSSURSULDWHEDVHGRQWKHIDFWVDQGFLUFXPVWDQFHV

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            :+(5()25(3ODLQWLIIUHVSHFWIXOO\ UHTXHVWV WKDW WKLV +RQRUDEOH&RXUW HQWHU MXGJPHQW

 IRU3ODLQWLIIDQGDJDLQVW'HIHQGDQW:HLUWRQDQGDZDUG3ODLQWLIIFRPSHQVDWRU\GDPDJHVDQGVXFK

 RWKHUUHOLHIDVWKLV&RXUWPD\GHHPMXVWHTXLWDEOHDQGSURSHU

      MADER V. WEIRTON, WEST VIRGINIA, TRAVIS BLOSSER AND ROB ALEXANDER
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            :+(5()25(3ODLQWLIIUHTXHVWVMXGJPHQWLQKLVIDYRUDQGDJDLQVW'HIHQGDQWV:HLUWRQ

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 DQGVXFKHTXLWDEOHUHOLHIDVWKH&RXUWGHHPVDSSURSULDWH

     MADER V. WEIRTON, WEST VIRGINIA, TRAVIS BLOSSER, ROB ALEXANDER AND
                                RYAN KUZMA
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 PDOLFLRXV GHURJDWRU\ VWDWHPHQWV DERXW 3ODLQWLII LQFOXGLQJ VWDWHPHQWV LQYROYLQJ SULYDWH

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               7KH GHIDPDWRU\ PDOLFLRXV DQG GHURJDWRU\ VWDWHPHQWV PDGH E\ 'HIHQGDQWV

 LQFOXGLQJ VWDWHPHQWV LQYROYLQJ SULYDWH LQIRUPDWLRQ DERXW 3ODLQWLII ZHUH QRW QHFHVVDU\ IRU

 'HIHQGDQWVWRUHVSRQGWRWKHVWDWHPHQWVPDGHE\3ODLQWLIILQWKH3RVW*D]HWWHDUWLFOH

               $W DOO WLPHV UHOHYDQW 'HIHQGDQW :HLUWRQ DFTXLHVFHG LQ DSSURYHG DQGRU

 SDUWLFLSDWHG LQ WKH UHWDOLDWRU\ FRQGXFW RI 'HIHQGDQW .X]PD LQFOXGLQJ WKH XVH RI KLV EDGJH RI

 DXWKRULW\WRSXEOLFO\LQWLPLGDWHEDGJHUDQGRUWKUHDWHQ3ODLQWLII

               $V D UHVXOW RI 'HIHQGDQWV¶ FRQGXFW 3ODLQWLII¶V UHSXWDWLRQ KDV EHHQ VHYHUHO\

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 ORVWZDJHVEHQHILWVDQGRWKHUUHPXQHUDWLRQHPEDUUDVVPHQWKXPLOLDWLRQDQGHPRWLRQDOGLVWUHVV


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            :+(5()25(3ODLQWLIIUHTXHVWVMXGJPHQWLQKLVIDYRUDQGDJDLQVW'HIHQGDQWV:HLUWRQ

 %ORVVHU$OH[DQGHUDQG.X]PDDQDZDUGRIFRPSHQVDWRU\GDPDJHVWKHUHFRYHU\RIFRVWVDQG

 DWWRUQH\¶VIHHVDQGVXFKRWKHUUHOLHIDVWKLV&RXUWGHHPVMXVWDQGHTXLWDEOHXQGHUWKHFLUFXPVWDQFHV

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